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              Case 3:21-cr-05183-RAJ Document 31 Filed 11/23/21 Page 2 of 2




 1                                         II.     ORDER
 2          The above-named defendant's participation in the Drug Reentry Alternative
 3 Model (DREAM) program having been approved, the defendant having elected
 4 voluntarily to participate in the DREAM program, and the defendant having entered a
 5 guilty plea pursuant to a plea agreement conditioned on the defendant's participation in
 6 the DREAM program,
 7          IT IS HEREBY ORDERED that, upon acceptance ofthe transfer by the DREAM
 8 program's Judicial Officer, the above-captioned case shall be transferred to the DREAM
 9 Judicial Officer for all further purposes.
10
11          DATED this   _TI_ day ofNovember, 2021.
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14
                                                       United States District Judge
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16
            The undersigned United States District Judge, being the DREAM program's
17
     Judicial Officer, hereby accepts the transfer ofthis case for all further purposes.
18
19
                       23rd
            DATED this _ __ day ofNovember, 2021.
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22
                                                        A
                                                       HON. RICHARD A. JONES
23                                                     United States District Judge
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27
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      STIPULATED MOTION AND ORDER FOR                                           DRUG REENTRY
      TRANSFER OF CASE TO DREAM PROGRAM - 2                                  ALTERNATIVE MODEL
                                                                              U.S. DISTRICT COURT
                                                                              700 STEWART STREET
                                                                            SEATTLE, WASHINGTON98101
